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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF MASSACHUSETTS



 SECURITIES AND EXCHANGE                                Civil Action No. 17-cv-11633
 COMMISSION,

                        Plaintiff,

        v.

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,

                        Defendants




                   DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
                     MOTION TO STAY PROCEEDINGS IN THIS CASE


       On April 13, 2020 Defendants filed an appeal (DKT#273) from this Court’s orders

granting partial summary judgment (DKT#252), denial of reconsideration/ new trial (DKT#270)

and dismissal of Counts three and four (DKT#266)




       I.      A STAY IS REQUIRED DUE TO THE PENDING APPEAL

       The filing of the appeal in this case divested this Court of jurisdiction to issue any further

substantive rulings including, but not limited to, ruling on Plaintiff’s Motion For Entry of Final

Judgment. United States v. George 841 F3d. 55, 71-72 (1st Cir. 2016); Griggs v. Provident

Consumer Discount Co. 459 U.S. 56, 58 (1982)


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        Plaintiff’s may argue that the pending appeal does not divest this Court of jurisdiction

because this Court’s orders granting partial summary judgment, denying reconsideration/ new

trial and dismissing with prejudice Counts Three and Four are not a final judgment because they

only disposed of liability and did not rule on remedies if any, so the judgments are not “final.”

That is incorrect. In Mills v. Electric Auto-Lite Company 396 U.S. 375, 379 n.3 (1970) the

district court entered a partial summary judgment ruling on liability alone- that defendant

violated §14(a) of the Securities Exchange Act of 1934- but the court did not rule on the plaintiff

shareholders’ damages, if any. The defendants appealed to the Seventh Circuit and eventually the

Supreme Court ruled on the merits of the appeal, even though the district court had yet to rule on

damages.

        In United States v. George 841 F3d. 55, 71-72 (1st Cir. 2016) this Court issued a

judgment but reserved the issue whether to order forfeiture, and if so, in what amount. The

defendant filed a notice of appeal. After the notice of appeal was filed, the Court held a hearing

on forfeiture and amended the judgment to add $1,382,214 in forfeiture. The Court of Appeals

vacated the forfeiture award because once the notice of appeal was filed, the trial court had no

jurisdiction to hear or order forfeiture Id at 72:

                        Here there was no forfeiture order included in the
                        original judgment, merely an allusion to the
                        possibility that forfeiture might be ordered…
                        and took no position as to whether forfeiture would
                        be ordered at all. Under these circumstances, the
                        pendency of the appeal deprived the court of
                        jurisdiction to issue its amended judgment [awarding
                        forfeiture].

        Here the appeal likewise deprives this Court of jurisdiction to rule on, or issue any order

or judgment as to, disgorgement or other remedies the SEC seeks. This Court should stay issuing

any such orders pending the decision by the First Circuit on the appeal.

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       II.     THIS COURT SHOULD ALSO STAY ANY FURTHER DECISION
               REGARDING DISGORGEMENT PENDING A DECISION BY THE
               UNITED STATES SUPREME COURT IN THE LIU V. SEC CASE


       This Court should stay any proceeding or decision regarding the SEC’s “remedies”

claims (including) disgorgement until the United States Supreme Court rules in the Liu v.

Securities and Exchange Commission 140 S. Ct. 451 (2019) case. The SEC is seeking

$28,964,571 in this case for “disgorgement” (and prejudgment interest) of advisory fees and

goodwill legitimately earned from NAI clients and its own goodwill which penalty disgorgement

and prejudgment interest the SEC has no authority to seek and which, as a matter of law, this

Court has no authority to award. The Supreme Court currently has before it for determination the

question of whether the SEC can obtain disgorgement as a remedy for violation of the securities

laws. Liu v. Securities and Exchange Commission 140 S. Ct. 451 (2019); Liu v. SEC 2019 WL

2354737 (May 31, 2019)

       Since the issue of whether a district court can even award disgorgement and prejudgment

interest thereon, is pending before Supreme Court which is the very issue before this Court, this

Court should stay any ruling or proceeding until the Supreme Court rules on this vital predicate

issue. It makes no sense to rule on a $28 million “disgorgement” claim, (which at most is a $228,

856 claim) without first knowing whether “disgorgement” is even an authorized remedy rather

than an unauthorized penalty. Kokesh v. SEC 137 S. Ct. 1635, 1644 (2017)

       Where, as here, a higher court in another case is deciding an issue that is a central issue in

a pending case, it is prudent to stay deciding the issue until a decision is made by the higher

court. Marshel v. AFW Fabric Corp. 552 F2d. 471, 472 (2nd Cir. 1977); Bechtel Corp. v. Local

215 Laborer’s Intn’l Union 544 F2d 1207, 1215 (3rd Cir. 1976); Beydoun v. Holder 2015 WL

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631948 at *3-4 (E.D. Mich., Feb. 13, 2015); Momenta Pharmaceuticals v. Amphastar 323 F.

Supp. 3d. 142, 147 (D. Mass. 2018)

       In Marshel the Second Circuit directed the district court to stay its decision on whether to

award damages to plaintiffs for defendants’ Rule 10b-5 securities law violations pending the

United States Supreme Court’s resolution of the issue in another pending case. [“The case is

remanded to the district court with instruction… to stay further proceeding pending the decision

of the Supreme Court of the United States in Green v. Santa Fe Industries Inc.”]

       Accord Bechtel Corp. v. Local 215 Laborers Intn’l Union supra 544 F2d. at 1215;

Beydoun v. Holder supra 2015 WL 631948 at *3-4.

       In Momenta supra 323 F. Supp. 3d. at 147 another session of this Court deferred

proceeding on a motion to enforce a bond because the Federal Circuit Court decision on appeal

might, however slight, possibly reverse the underlying decision upon which the issuance of the

bond was based and therefore the court deferred (stayed) enforcement pending the appellate

court decision.

       Here, too, this Court should stay any further proceeding, including determination of the

SEC’s motion until the Supreme Court rules in Liu v. SEC on the issue of whether disgorgement

is an authorized remedy. This Court should also stay such proceedings until the First Circuit

renders its decision on the appeal in this case to determine whether summary judgment was

properly granted, since reversal would eliminate any arguable claim the SEC makes for

remedies.




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         III.   THE CRITERIA FOR A STAY HAVE BEEN SATISFIED

         Even if this Court has jurisdiction to rule on the SEC’s Motion For Entry of Final

Judgment, it should exercise its discretion to stay any further proceedings since the traditional

four criteria for a stay pending appeal are satisfied here. Nhen v. Holder 556 U.S. 418, 425-426

(2009)



                A. Strong Showing Of Likelihood Of Success On Appeal

         There is a strong likelihood Defendants will succeed on their appeal of this Court’s grant

of summary judgment. There was no evidence that the supposedly false statements that the Index

was based on another wealth manager’s live traded strategy going back to 2001 and that the

Index was not back tested were in fact false. (DKT#221-1 thru 221-7) The SEC presented no

evidence to prove the statements were false. Defendants presented evidence from Jay Morton

and Corey Hoffstein and Howard Present (DKT#224-1, pp. 190-191; DKT#236-7, pp. 170-179;

DKT#236-7, pp. 190-203) and from NASDAQ OMX (DKT#224-1, pp. 201-2) that the

statements were true.

         There were also material, disputed issues of fact that neither defendant acted with

scienter, i.e., they had no knowledge the statements were “false,” nor did they have any intent to

defraud their clients (DKT#224-4, pp. 543-544), nor were they extremely reckless in relying on

the NASDAQ OMX letter (DKT#224-1, pp. 201-202). See Defendant’s Memorandum

(DKT#259) and proposed reply Memorandum (DKT#269) in Support of Reconsideration.

         Nor, in the context of the entire marketing brochure, were the statements about ten-year-

old hypothetical performance material misstatements in light of NAI’s actual performance for the

prior two years and F-Squared’s actual Index performance from 2008. (DKT#224-3 p. 232;



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DKT#224-6, pp. 199-200) Those disputed issues of material fact render the Court’s summary

judgment reversible error Noonan v. Staples Inc. 556 F3d. 20, 25 (1st Cir. 2009); Apponte-

Santiago v. Lopez- Revere 957 F2d. 40, 41 (1st Cir. 1992); Santiago-Ramos v. Centennial P.R.

Wireless Corp. 217 F3d. 46, 57 (1st Cir. 2000) and create a strong likelihood of success on

appeal.



                 B. Defendants Will Be Irreparably Harmed Absent A Stay

          The SEC is seeking $28 million in disgorgement and prejudgment interest without any

legal or factual authority. Disgorgement is a penalty, not a remedy, and therefore the SEC has no

authority to seek it, nor does this Court have authority to award it. Kokesh v. SEC 137 S. Ct.

1635, 1644 (2017)

          Not only is the SEC seeking unauthorized disgorgement, but it is simply making up a

huge amount- $28 million- with no factual support of anything more than $228,000 of

“disgorgement.” SEC v. Mapp 2018 WL 3570920 *8 (W.D. Tex. 2018), the SEC is improperly

seeking that unsupported amount in the hope the Court will award it so as to make it difficult to

post a bond to appeal such an award, thereby obtaining an unauthorized, huge award that as a

practical matter could not be appealed and corrected before the SEC enforced and rendered an

appeal moot.

          If this Court were to allow disgorgement, or in such amount, it would cause irreparable

harm to Defendants and could effectively deprive them of their ability to appeal such an award.




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               C. A Stay Will Not Substantially Injure The SEC

       A stay will not substantially harm the SEC. If, after appeal and/or after a decision in the

Liu case, it is determined that summary judgment in this case was proper, and that the SEC is

entitled to disgorgement as a remedy, then the SEC could proceed to seek the correct amount of

disgorgement. The SEC would still have all the rights, if any, it has now, once it indisputably

established liability for violation of the law and a right to disgorgement. There is no substantial

harm to the SEC in waiting until those determinations can be made by the appellate courts.




               D. The Public Interest Lies In Support Of A Stay

       Preventing injustice and staying enforcement of erroneous, unjustified awards is in the

public interest. The public has an interest in seeing that the laws are properly enforced. Nhen

supra 556 U.S. supra at 436




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                                      CONCLUSION

      For the reasons set forth above, Defendants motion for stay should be granted.




                                           Respectfully submitted,




DATED: April 30, 2020                      By:/s/ Samuel Kornhauser
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                   CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       Pursuant to Local Rule 7.1, the undersigned met and conferred on April 29, 2020 with

Plaintiff’s counsel by telephone to request a stipulation or a non-opposition regarding

Defendants’ request to stay ruling on Plaintiff’s Motion for Entry of Final Judgment. In good

faith, counsel were unable to resolve these issues.




DATED: April 30, 2020          LAW OFFICES OF SAMUEL KORNHAUSER



                                              By:     /s/ Samuel Kornhauser
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                                 CERTIFICATE OF SERVICE

       I certify that on April 30, 2020, a copy of the foregoing was electronically filed through

the ECF system and will be sent electronically to all persons identified in the Notice of Electronic

Filing and that paper copies will be sent to those indicated as non-registered participants.



Dated: April 30, 2020                                 /s/ Dan Cowan
                                                          Dan Cowan




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